                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


 UNITED STATES OF AMERICA,                    )
                                              )
                       Plaintiff,             )
                                              )       No. 3:08-CR-66
 V.                                           )       (PHILLIPS/SHIRLEY)
                                              )
 JASON JENKINS,                               )
                                              )
                       Defendant.             )


                                MEMORANDUM AND ORDER

        The defendant appeared before the Court on December 5, 2008, for an initial appearance and

 bond revocation hearing on a Petition for Action on Conditions of Pretrial Release [Doc. 42].

 Assistant United States Attorney Tracee Plowell appeared on behalf of the government. Attorney

 Norman D. McKellar represented the defendant.

        On May 12, 2008, the defendant was released on personal recognizance with an Order

 Setting Conditions of Release [Doc. 9]. The conditions of the defendant’s release included that he

 refrain from the use of any narcotic drugs or controlled substances, submit to drug testing, and

 participate in a program of inpatient or outpatient substance abuse therapy and counseling as

 directed by the United States Probation Office. On December 2, 2008, a Petition for Action on

 Conditions of Pretrial Release was filed by the defendant’s probation officer, stating that the

 defendant tested positive in random drug screens for oxycontin and benzodiazepines on September

 24, 2008, and for oxycontin and marijuana on October 31, 2008, and November 18, 2008. The

 defendant admitted using controlled substances on all three of these occasions. The Petition also


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 notes that the defendant tested positive for marijuana at his initial drug screen on May 12, 2008, at

 which time he admitted using marijuana on May 1, 2008.

          On December 5, 2008, the Court conducted a hearing pursuant to 18 U.S.C. § 3148 to

 determine whether the defendant had violated the terms of the Order Setting Conditions of Release

 and, if such violation had occurred, whether sanctions were appropriate. At the hearing, the

 defendant admitted committing the violations alleged in the Petition. Defense counsel proposed that

 the defendant remain on release under the supervision of his mother and aunt until January 7, 2008,

 at which time he was scheduled to begin a twenty-one-day inpatient substance abuse treatment

 program at CenterPointe Adult Services. Defense counsel noted that the defendant would be

 entering a change of plea in this case and stated that the change of plea hearing could be scheduled

 to coinside with his release from CenterPointe. The defendant addressed the Court, stating that if

 he were allowed to remain on release until he was to report to CenterPointe, he could attend

 Narcotics Anonymous meetings daily and would investigate possible treatment for depression at

 Cherokee Health Systems. He asked to be allowed to spend the holidays on release with his family.

 The government agreed that the defendant should obtain treatment at CenterPointe but argued that

 he be placed in custody until a bed became available because the defendant would not refrain from

 using drugs while on release. In this regard, AUSA Plowell noted that the defendant had admitted

 using marijuana and oxycontin two days before the hearing, even knowing that he was coming to

 court.

          Based on the defendant’s admissions and on the evidence before the Court, the Court finds

 by clear and convincing evidence that the defendant has violated the terms of the Order Setting

 Conditions of Release. See 18 U.S.C. § 3148(b)(1)(B). The Court further finds that there is no


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 condition or combination of conditions of release that will assure that the defendant will not pose

 a danger to the safety of any other person or the community and that the defendant is unlikely to

 abide by any condition or combination of conditions of release. See 18 U.S.C. § 3148(b)(2).

 Accordingly, the defendant is ORDERED remanded to the custody of the United States Marshal

 until January 7, 2009, at which time he will again be released pursuant to the Order Setting

 Conditions of Release [Doc. 9]. The Order Setting Conditions of Release [Doc. 9] is hereby

 MODIFIED to include the following conditions: (1) That the defendant will report to CenterPointe

 on January 7, 2009; (2) that the defendant will complete the CenterPointe inpatient program and

 abide by all of their rules during the program, and (3) that the defendant will report to his probation

 officer immediately upon his release from CenterPointe. Assuming the defendant complies with the

 conditions as modified, he will be permitted to remain on bond pursuant to the Order Setting

 Conditions of Release [Doc. 9] until his change of plea hearing or his trial on February 23, 2009,

 at 9:00 a.m., before the Honorable Thomas W. Phillips, United States District Judge.

        IT IS SO ORDERED.

                                                        ENTER:


                                                          s/ C. Clifford Shirley, Jr.
                                                        United States Magistrate Judge




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